

ORDER

PER CURIAM.
AND NOW, this 26th day of June, 2003, upon consideration of the contention of respondent-attorney that he is suffering from a disabling condition which makes it impossible for him to prepare an adequate defense to disciplinary charges brought against him in connection with Disciplinary Board Docket Nos. 15 DB 2002 and 85 DB 2002, it is hereby
ORDERED, that Marvin I. Barish is immediately transferred to inactive status pursuant to Rule 301(e), Pa.R.D.E., for an indefinite period and until further order of the Court. Respondent shall comply with Rule 217, Pa.R.D.E. All pending disciplinary proceedings against the respondent-attorney shall meanwhile be held in abeyance, except for the perpetuation of testimony.
